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JUL 06 2017

THOMAS G. BRUTON NORTHERN DISTRICT OF ILLINOIS
CLERK, U.S. DISTRICT COURT EASTERN DIVISION JUDCE GETTLEM AN

UNITED STATES DISTRICT COURT

UNITED STATES OF AMERICA MAGISTRATE JUDGE MASON

UNDER SEAL

~17CR 452

Violations: Title 18, United
States Code, Section 371; Title
42, United States Code,
Sections 1320a-7b(b)(2)(A) and
1320a-7b(b)(1)(A)

Vv.

ZOSIMA VICTUELLES a/k/a “Suzie,”
MYLENE MASICLAT,

MARIBEL CABRERA, a/k/a “Mabel,”
YASEEN ODEH, and

MOHAMMAD RAZA KHAN

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COUNT ONE
The SPECIAL JULY 2016 GRAND JURY charges:
1. At times material to this indictment:
a. Medicare was a federal health care program, as defined at
Title 42, United States Code, Section 1320a-7b(f), which provided free or below-
cost health care benefits to certain eligible individuals (“Medicare
beneficiaries”), primarily individuals over the age of 65.
b. The federal health care program anti-kickback statute, 42
U.S.C. § 1320a-7b(b), prohibited the offer and payment as well as the
solicitation and receipt of remunerations in return for the referral of patients

for the furnishing or arranging for the furnishing of any item or service for
 

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which payment may be made in whole or in part under a federal health care
program, including Medicare. Under the anti-kickback statute, home health
care companies and their owners were prohibited from paying physicians and
others in exchange for past or future referrals of Medicare beneficiaries.

Cc. Sure Care Home Health Corp. (“Sure Care”), a corporation
located at 1155 North Main Street in Glendale Heights, Illinois, and at 129
South Phelps Avenue, Suite 504 in Rockford, Illinois, was in the business of
providing home health care services to Medicare beneficiaries. Sure Care was
an enrolled provider of Medicare services to Medicare beneficiaries. As an
enrolled provider, Sure Care submitted claims to Medicare and received
reimbursement for such services.

d. Medicare typically approved the provision of home health
care to its beneficiaries who were confined to their homes in 60-day periods.
The 60-day periods were referred to as cycles or episodes. A physician was
required to approve a beneficiarys plan of care, and to certify that the
beneficiary was confined to his or herhome. Subsequent cycles were referred
to as “recertifications” because a beneficiary was required to be recertified by
a physician to receive additional 60-day cycles of home health care.

e. Defendant ZOSIMA VICTUELLES was an owner and the

Administrator of Sure Care and a nurse licensed in the State of Illinois.

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f. Defendant MYLENE MASICLAT was an owner of Sure
Care.

g. Defendant MARIBEL CABRERA was an owner of Sure Care
and a nurse licensed in the State of Illinois.

h. Defendant YASEEN ODEH was a medical doctor licensed in
the State of Illinois.

1. Defendant MOHAMMAD RAZA KHAN was a medical
doctor licensed in the State of Illinois.

j. Physician A and Physician B were both medical doctors
licensed in the State of Illinois.

2. Beginning in or about 2010 and continuing through on or about

February 2014, at Glendale Heights and Rockford, in the Northern District of
Illinois, Eastern Division, and elsewhere,

ZOSIMA VICTUELLES a/k/a “Suzie,”
MYLENE MASICLAT,

MARIBEL CABRERA a/k/a “Mabel,”
YASEEN ODEH, and

MOHAMMAD RAZA KHAN,

defendants herein, with others, did conspire:
a. to knowingly and willfully offer and pay remunerations,

including kickbacks and bribes, directly and indirectly, overtly and covertly,

 
 

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from defendants VICTUELLES, MASICLAT, and CABRERA to defendants
ODEH and KHAN, and others, to induce the referral of Medicare beneficiaries
to Sure Care for the furnishing of home health care services for which payment
may be made in whole and in part under Medicare, in violation of Title 42,
United States Code, Section 1320a-7b(b)(2)(A); and

b. to knowingly and willfully solicit and receive remunerations,
including kickbacks and bribes, directly and indirectly, overtly and covertly,
from defendants VICTUELLES, MASICLAT and CABRERA to defendants
ODEH and KHAN, and others, in return for the referral of Medicare
beneficiaries to Sure Care for the furnishing of home health care services for
which payment may be made in whole and in part under Medicare, in violation
of Title 42, United States Code, Section 1320a-7b(b)(1)(A).

Manner and Means in Which the Conspiracy Was Conducted

 

3. It was part of the conspiracy that defendants VICTUELLES,
MASICLAT, and CABRERA and others, agreed to make, and caused others to
make, kickback and bribe payments to defendants ODEH and KHAN, and
others, in return for their referral of Medicare beneficiaries to Sure Care for

the provision of home health care services.
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4. It was further part of the conspiracy that from in or about March
2010 through in or about March 2013, defendant CABRERA, and others, paid
defendant ODEH at least approximately $59,890 in cash kickbacks and bribes
in exchange for the referral of Medicare beneficiaries to Sure Care.

5. It was further part of the conspiracy that from in or about July
2012 through in or about July 2013, defendant VICTUELLES, and others, paid
defendant KHAN at least approximately $8,200 in cash kickbacks and bribes
in exchange for the referral of Medicare beneficiaries to Sure Care.

6. It was further part of the conspiracy that from in or about May
2012 through in or about November 2013, defendants VICTUELLES and
CABRERA, and others, paid Physician A at least approximately $6,500 in cash
kickbacks and bribes in exchange for the referral of Medicare beneficiaries to
Sure Care.

7. It was further part of the conspiracy that defendants
VICTUELLES, MASICLAT, and CABRERA, in order to conceal their
involvement in the kickback and bribe scheme, directed that checks be
generated to Sure Care employees in net amounts that corresponded to
kickback and bribe amounts owed to doctors, and others, for patient referrals,

and directed the employees receiving the checks to cash the checks and provide

 
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the cash to defendants VICTUELLES, MASICLAT, or CABRERA, which cash
was then used for kickback and bribe payments to doctors and others. In other
instances, defendants VICTUELLES, MASICLAT, or CABRERA directed the
employees receiving the checks to endorse the checks and provide the checks
to VICTUELLES, MASICLAT, or CABRERA, who in turn cashed the checks
and used the cash for kickback and bribe payments to doctors.

8. It was further part of the conspiracy that defendants ODEH and
KHAN, and others, referred Medicare beneficiaries to Sure Care in exchange
for the cash payments from defendants VICTUELLES, MASICLAT and
CABRERA.

9. It was further part of the conspiracy that defendants
VICTUELLES, MASICLAT, and CABRERA, acting on behalf of Sure Care,
submitted, and caused to be submitted, to Medicare claims for reimbursement
for providing services to Medicare beneficiaries referred to Sure Care by
defendants ODEH and KHAN, and others, in exchange for kickbacks and
bribes.

10. It was further part of the conspiracy that from in or about 2010 to
in or about February 2014, defendants VICTUELLES, MASICLAT, and

CABRERA and others paid, and caused to be paid, at least approximately
 

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$463,698 in kickbacks and bribes to doctors, including defendants ODEH,
KHAN, and to nurses, marketers, and others in exchange for the referral of
Medicare beneficiaries to Sure Care.

11. It was further part of the conspiracy that defendants
VICTUELLES, MASICLAT, and CABRERA, along with defendants ODEH
and KHAN, and others, misrepresented, concealed, hid and caused to be
misrepresented, concealed and hidden, the purpose of the conspiracy and acts
done in furtherance of the conspiracy.

OVERT ACTS

12. In furtherance of and to affect the objects of this conspiracy, the
defendants committed the following overt acts, among others, in the Northern
District of Illinois:

The kickback and bribe transactions charged in counts Two through
Twenty-Nine of this Indictment, each of which constitutes an overt act in
furtherance of the conspiracy;

In violation of Title 18, United States Code, Section 371.
 

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COUNT TWO

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about July 10, 2012, at Glendale Heights, in the Northern District
of Illinois, Eastern Division, and elsewhere,

MARIBEL CABRERA,

defendant herein, knowingly and willfully caused Sure Care to offer and pay
remuneration in the amount of approximately $300 to Individual A to induce
the referral of patients to Sure Care Home Health Corp. for the furnishing and
arranging for the furnishing of services for which payment may be made in
whole and in part under a federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)

and Title 18, United States Code, Section 2.
 

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COUNT THREE

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about July 24, 2012, at Glendale Heights, in the Northern District
of Illinois, Eastern Division, and elsewhere,

ZOSIMA VICTUELLES a/k/a “Suzie,”

defendant herein, knowingly and willfully caused Sure Care to offer and pay
remuneration in the amount of approximately $500 to Physician A to induce
the referral of patients to Sure Care Home Health Corp. for the furnishing and
arranging for the furnishing of services for which payment may be made in
whole and in part under a federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)

and Title 18, United States Code, Section 2.
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COUNT FOUR

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about July 24, 2012, at Glendale Heights, in the Northern District
of Illinois, Eastern Division, and elsewhere,

ZOSIMA VICTUELLES a/k/a “Suzie,”

defendant herein, knowingly and willfully caused Sure Care to offer and pay
remuneration in the amount of approximately $500 to defendant Mohammad
Raza Khan to induce the referral of patients to Sure Care Home Health Corp.
for the furnishing and arranging for the furnishing of services for which
payment may be made in whole and in part under a federal health care

program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)

and Title 18, United States Code, Section 2.

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COUNT FIVE

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about July 24, 2012, at Chicago, in the Northern District of Illinois,
Eastern Division, and elsewhere,

MOHAMMAD RAZA KHAN,

defendant herein, knowingly and willfully solicited and received remuneration
in the amount of approximately $500 in exchange for referring patients to Sure
Care Home Health Corp. for the furnishing and arranging for the furnishing
of services for which payment may be made in whole and in part under a

federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(1)(A).

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COUNT SIX

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about August 28, 2012, at Chicago, in the Northern District of
Illinois, Eastern Division, and elsewhere,

MOHAMMAD RAZA KHAN,

defendant herein, knowingly and willfully solicited and received remuneration
in the amount of approximately $2,000 in exchange for referring patients to
Sure Care Home Health Corp. for the furnishing and arranging for the
furnishing of services for which payment may be made in whole and in part
under a federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(1)(A).

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COUNT SEVEN

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about September 6, 2012, in the Northern District of Illinois,
Eastern Division, and elsewhere,

MOHAMMAD RAZA KHAN,

defendant herein, knowingly and willfully solicited and received remuneration
in the amount of approximately $500 in exchange for referring patients to Sure
Care Home Health Corp. for the furnishing and arranging for the furnishing
of services for which payment may be made in whole and in part under a

federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(1)(A).

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COUNT EIGHT

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about September 13, 2012, at Glendale Heights, in the Northern
District of Illinois, Eastern Division, and elsewhere,

ZOSIMA VICTUELLES a/k/a “Suzie,”

defendant herein, knowingly and willfully caused Sure Care to offer and pay
remuneration in the amount of approximately $1,000 to Physician A to induce
the referral of patients to Sure Care Home Health Corp. for the furnishing and
arranging for the furnishing of services for which payment may be made in
whole and in part under a federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A).

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COUNT NINE

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about September 28, 2012, in the Northern District of Illinois,
Eastern Division, and elsewhere,

MOHAMMAD RAZA KHAN,

defendant herein, knowingly and willfully solicited and received remuneration
in the amount of approximately $700 in exchange for referring patients to Sure
Care Home Health Corp. for the furnishing and arranging for the furnishing
of services for which payment may be made in whole and in part under a

federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(1)(A).

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COUNT TEN

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about October 26, 2012, in the Northern District of Illinois,
Eastern Division, and elsewhere,

MOHAMMAD RAZA KHAN,

defendant herein, knowingly and willfully solicited and received remuneration
in the amount of approximately $1,500 in exchange for referring patients to
Sure Care Home Health Corp. for the furnishing and arranging for the
furnishing of services for which payment may be made in whole and in part
under a federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(1)(A).

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On or about November 23, 2012, at Glendale Heights, in the Northern
District of Illinois, Eastern Division, and elsewhere,

MYLENE MASICLAT and
MARIBEL CABRERA,

COUNT ELEVEN
defendants herein, knowingly and willfully offered and paid remuneration in

the amount of approximately $1,500 to Individual B to induce the referral of

patients to Sure Care Home Health Corp. for the furnishing and arranging for

the furnishing of services for which payment may be made in whole and in part

under a federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)

and Title 18, United States Code, Section 2.
 

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On or about November 23, 2012, at Glendale Heights, in the Northern
District of Illinois, Eastern Division, and elsewhere,

MYLENE MASICLAT and
MARIBEL CABRERA,

COUNT TWELVE
defendants herein, knowingly and willfully caused Sure Care to offer and pay
remuneration in the amount of approximately $450 to Individual C to induce
the referral of patients to Sure Care Home Health Corp. for the furnishing and

arranging for the furnishing of services for which payment may be made in

whole and in part under a federal health care program, namely Medicare;

and Title 18, United States Code, Section 2.

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)
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COUNT THIRTEEN

The SPECIAL JULY 2016 GRAND JURY further charges:

On or. about January 4, 2013, at Glendale Heights, in the Northern
District of Illinois, Eastern Division, and elsewhere,

ZOSIMA VICTUELLES a/k/a “Suzie,”

defendant herein, knowingly and willfully caused Sure Care to offer and pay
remuneration in the amount of approximately $1,000 to Physician A to induce
the referral of patients to Sure Care Home Health Corp. for the furnishing and
arranging for the furnishing of services for which payment may be made in
whole and in part under a federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)

and Title 18, United States Code, Section 2.

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COUNT FOURTEEN

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about January 4, 2013, at Glendale Heights, in the Northern
District of Illinois, Eastern Division, and elsewhere,

ZOSIMA VICTUELLES a/k/a “Suzie,”

defendant herein, knowingly and willfully caused Sure Care to offer and pay
remuneration in the amount of approximately $500 to defendant Mohammad
Raza Khan to induce the referral of patients to Sure Care Home Health Corp.
for the furnishing and arranging for the furnishing of services for which
payment may be made in whole and in part under a federal health care
program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)

and Title 18, United States Code, Section 2.

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COUNT FIFTEEN

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about January 4, 2013, in the Northern District of Illinois, Eastern
Division, and elsewhere,

MOHAMMAD RAZA KHAN,

defendant herein, knowingly and willfully solicited and received remuneration
in the amount of approximately $500 in exchange for referring patients to Sure
Care Home Health Corp. for the furnishing and arranging for the furnishing
of services for which payment may be made in whole and in part under a

federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(1)(A).

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COUNT SIXTEEN

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about February 19, 2013, at Glendale Heights, in the Northern
District of Illinois, Eastern Division, and elsewhere,

ZOSIMA VICTUELLES a/k/a “Suzie,”

defendant herein, knowingly and willfully caused Sure Care to offer and pay
remuneration in the amount of approximately $500 to defendant Mohammad
Raza Khan to induce the referral of patients to Sure Care Home Health Corp.
for the furnishing and arranging for the furnishing of services for which
payment may be made in whole and in part under a federal health care
program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)

and Title 18, United States Code, Section 2.

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COUNT SEVENTEEN

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about February 19, 2013, in the Northern District of [linois,
Eastern Division, and elsewhere,

MOHAMMAD RAZA KHAN,

defendant herein, knowingly and willfully solicited and received remuneration
in the amount of approximately $500 in exchange for referring patients to Sure
Care Home Health Corp. for the furnishing and arranging for the furnishing
of services for which payment may be made in whole and in part under a
federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(1)(A).

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COUNT EIGHTEEN
The SPECIAL JULY 2016 GRAND JURY further charges:
On or about February 20, 2013, at Glendale Heights, in the Northern
District of Illinois, Eastern Division, and elsewhere,
MYLENE MASICLAT,
defendant herein, knowingly and willfully caused Sure Care to offer and pay
remuneration in the amount of approximately $2,450 to an unknown
individual to induce the referral of patients to Sure Care for the furnishing and
arranging for the furnishing of services for which payment may be made in
whole and in part under a federal health care program, namely Medicare;
In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)

and Title 18, United States Code, Section 2.

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COUNT NINTEEN
The SPECIAL JULY 2016 GRAND JURY further charges:

On or about February 28, 2013, at Glendale Heights, in the Northern

ZOSIMA VICTUELLES a/k/a “Suzie,
defendant herein, knowingly and willfully offered and paid remuneration in

District of Illinois, Eastern Division, and elsewhere,
)
the amount of approximately $2,500 to Physician B to induce the referral of

patients to Sure Care for the furnishing and arranging for the furnishing of

health care program, namely Medicare;

services for which payment may be made in whole and in part under a federal
In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A).

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COUNT TWENTY
The SPECIAL JULY 2016 GRAND JURY further charges:
On or about March 12, 2013, at Glendale Heights, in the Northern

District of Illinois, Eastern Division, and elsewhere,

ZOSIMA VICTUELLES,

MYLENE MASICLAT, and
MARIBEL CABRERA,
defendants herein, knowingly and willfully caused Sure Care to offer and pay
remuneration in the amount of approximately $2,000 to defendant Yaseen
Odeh to induce the referral of patients to Sure Care Home Health Corp. for the
furnishing and arranging for the furnishing of services for which payment may
be made in whole and in part under a federal health care program, namely
Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)

and Title 18, United States Code, Section 2.

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COUNT TWENTY-ONE

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about March 12, 2013, in the Northern District of Illinois, Eastern
Division, and elsewhere,

YASEEN ODEH,

defendant herein, knowingly and willfully solicited and received remuneration
in the amount of approximately $2,000 in exchange for referring patients to
Sure Care Home Health Corp. for the furnishing and arranging for the
furnishing of services for which payment may be made in whole and in part

under a federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(1)(A).

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COUNT TWENTY-TWO

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about April 23, 2013, in the Northern District of Illinois, Eastern
Division, and elsewhere,

MOHAMMAD RAZA KHAN,

defendant herein, knowingly and willfully solicited and received remuneration
in the amount of approximately $500 in exchange for referring patients to Sure
Care Home Health Corp. for the furnishing and arranging for the furnishing
of services for which payment may be made in whole and in part under a

federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(1)(A).

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COUNT TWENTY-THREE

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about May 2, 2013, at Bridgeview, in the Northern District of
Illinois, Eastern Division, and elsewhere,

ZOSIMA VICTUELLES a/k/a “Suzie,”

defendant herein, knowingly and willfully offered and paid remuneration in
the amount of approximately $1,200 to Physician B to induce the referral of
patients to Sure Care for the furnishing and arranging for the furnishing of
services for which payment may be made in whole and in part under a federal

health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A).

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COUNT TWENTY-FOUR

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about May 31, 2013, at Glendale Heights, in the Northern District
of Illinois, Eastern Division, and elsewhere,

MYLENE MASICLAT,

defendant herein, knowingly and willfully caused Sure Care to offer and pay
remuneration in the amount of approximately $3,200 to Individual D to induce
the referral of patients to Sure Care for the furnishing and arranging for the
furnishing of services for which payment may be made in whole and in part
under a federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)

and Title 18, United States Code, Section 2.

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COUNT TWENTY-FIVE

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about June 17, 2013, at Bridgeview, in the Northern District of
Illinois, Eastern Division, and elsewhere,

ZOSIMA VICTUELLES a/k/a “Suzie,

defendant herein, knowingly and willfully offered and paid approximately
$1,500 to Physician B to induce the referral of patients to Sure Care for the
furnishing and arranging for the furnishing of services for which payment may
be made in whole and in part under a federal health care program, namely
Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)

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COUNT TWENTY-SIX

 

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about September 26, 2013, at Bridgeview, in the Northern District
of Illinois, Eastern Division, and elsewhere,

ZOSIMA VICTUELLES a/k/a “Suzie,”

defendant herein, knowingly and willfully offered and paid approximately
$1,200 to Physician B to induce the referral of patients to Sure Care for the
furnishing and arranging for the furnishing of services for which payment may
be made in whole and in part under a federal health care program, namely

Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A).

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COUNT TWENTY-SEVEN

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about September 27, 2013, at Glendale Heights, in the Northern
District of Illinois, Eastern Division, and elsewhere,

MYLENE MASICLAT,

defendant herein, knowingly and willfully caused Sure Care to offer and pay
remuneration in the amount of approximately $3,600 to Individual D to induce
the referral of patients to Sure Care Home Health Corp. for the furnishing and
arranging for the furnishing of services for which payment may be made in
whole and in part under a federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)

and Title 18, United States Code, Section 2.

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COUNT TWENTY-EIGHT

The SPECIAL JULY 2016 GRAND JURY further charges:

On or about October 2, 2013, at Glendale Heights, in the Northern
District of Illinois, Eastern Division, and elsewhere,

MYLENE MASICLAT,

defendant herein, knowingly and willfully caused Sure Care to offer and pay
remuneration in the amount of approximately $2,700 to Individual D to induce
the referral of patients to Sure Care Home Health Corp. for the furnishing and
arranging for the furnishing of services for which payment may be made in
whole and in part under a federal health care program, namely Medicare;

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)

and Title 18, United States Code, Section 2.

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FORFEITURE ALLEGATIONS

The SPECIAL JULY 2016 GRAND JURY further alleges:

1. The allegations in Counts One through Twenty-Eight of the
Indictment are realleged and incorporated by reference as if fully restated
herein for the purpose of alleging that certain property is subject to forfeiture
pursuant to Title 18, United States Code, Section 982(a)(7).

2s As a result of their violations of Title 42, United States Code,
Sections 1320a-7b(b)(2)(A) and 1320a-7b(b)(1)(A), as alleged in the foregoing
indictment,

ZOSIMA VICTUELLES a/k/a “Suzie,”

MYLENE MASICLAT,

MARIBEL CABRERA, a/k/a “Mabel,”

YASEEN ODEH, and

MOHAMMAD RAZA KHAN,
defendants herein, shall forfeit to the United States, pursuant to Title 18,
United States Code, Section, 982(a)(7), any and all right, title and interest in
property, real and personal, which constitutes and is derived directly and
indirectly from gross proceeds traceable to the charged offenses.

3. The interests of the defendants subject to forfeiture to the United

States pursuant to Title 18, United States Code, Section 982(a)(7) include, but

are not limited to:

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a. For defendants VICTUELLES, MASICLAT and CABRERA, (1)
the total amount of Medicare reimbursements made on claims submitted on
behalf of patients for whose referral defendants VICTUELLES, MASICLAT
and/or CABRERA paid kickbacks, and (2) the total amount of kickbacks paid;
and

b. For defendants ODEH and KHAN, (1) the total amount of
Medicare reimbursements made on claims submitted on behalf of patients for
whom defendants ODEH and KHAN received kickbacks, and (2) the total
amount of kickbacks received by defendants ODEH and KHAN.

4. If any of the property subject to forfeiture and described above, as
a result of any act or omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred to, sold to, or deposited with a third
person;

C. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value;

e. has been commingled with other property which cannot be
divided without difficulty;

the United States of America shall be entitled to forfeiture of substitute
property, under the provisions of Title 21, United States Code, Section 853(p),

as incorporated by Title 18, United States Code, Section 982(b)(1).

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All pursuant to Title 18, United States Code, Section 982(a)(7).

A TRUE BILL:

 

 

FOREPERSON

 

ACTING UNITED STATES ATTORNEY

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